            Case 6:19-bk-00511-KSJ        Doc 130     Filed 02/15/19    Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re:

IPS Worldwide, LLC,                                   Case No.: 6:19-bk-00511-KSJ
                                                      Chapter 11
                   Debtor.
_________________________________/

                UNITED STATES TRUSTEE’S APPOINTMENT
            AND NOTICE OF APPOINTMENT OF COMMITTEE OF
     CREDITORS HOLDING UNSECURED CLAIMS FOR IPS WORLDWIDE, LLC

         Pursuant to 11 U.S.C. Section 1102(a), Daniel M. McDermott, the United States Trustee

for Region 21 (“UST”), hereby appoints the following creditors to serve on the committee of

creditors holding unsecured claims:

SVEZ WTS USA, INC. d/b/a SVEZ WATER              XERIUM TECHNOLOGIES, INC.
TECHNOLOGIES & SOLUTIONS                         c/o Phillip Kennedy, General Counsel
c/o Jeanne Cook, Senior Counsel                  14101 Capital Blvd.
4636 Somerton Road                               Youngsville, NC 27596
Trevose, PA 19053                                Tel: 919-526-1414
Tel: 215-633-4251                                Fax: 919-263-8544
Email: jeanne.cook@svez.com                      Email: phillip.kennedy@xerium.com

ATKORE INTERNATIONAL GROUP, INC.
c/o Daniel S. Kelly, General Counsel
Attn: Legal Department
16100 South Lathrop Avenue
Harvey, IL 60426
Tel: 708-225-2436
Email: dkelly@atkore.com




         Additional creditors may be added to the Committee.
  Case 6:19-bk-00511-KSJ     Doc 130   Filed 02/15/19    Page 2 of 3




DATED:   February 15, 2019    Respectfully submitted,

                              Daniel M. McDermott
                              United States Trustee, Region 21

                                /s/ Audrey May Aleskovsky
                              Audrey May Aleskovsky, Trial Attorney
                              United States Department of Justice
                              Office of the United States Trustee
                              Florida Bar No.: 103236
                              George C. Young Federal Building and Courthouse
                              400 W. Washington Street, Suite 1100
                              Orlando, FL 32801
                              Telephone No.: (407) 648-6301, Ext. 130
                              Facsimile No.: (407) 648-6323
                              Audrey.M.Aleskovsky@usdoj.gov




                                 2
           Case 6:19-bk-00511-KSJ        Doc 130       Filed 02/15/19    Page 3 of 3



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing, United States
Trustee’s Appointment and Notice of Appointment of Committee of Creditors Holding
Unsecured Claims has been served electronically through CM/ECF on February 15, 2019, to all
parties having appeared electronically in the instant matter and by email to the members of the
committee at the email addresses as set forth above. I HEREBY CERTIFY further that a copy
hereof shall be served by U.S. Mail, postage prepaid, on February 15, 2019 to the following:

 IPS Worldwide, LLC                                Svez Wts Usa, Inc.
 265 Clyde Morris Blvd, Ste 100                    d/b/a Svez Water Technologies & Solutions
 Ormond Beach, FL 32174                            c/o Jeanne Cook, Senior Counsel
                                                   4636 Somerton Road
                                                   Trevose, PA 19053

 Xerium Technologies, Inc.                         Atkore International Group, Inc.
 c/o Phillip Kennedy, General Counsel              c/o Daniel S. Kelly, General Counsel
 14101 Capital Blvd.                               Attn: Legal Department
 Youngsville, NC 27596                             16100 South Lathrop Avenue
                                                   Harvey, IL 60426

 Neal, Gerber & Eisenberg, LLP                     Williams Mullen, Esquire
 c/o Jonathan S. Quinn, Esquire                    c/o Holmes P. Harden, Esquire
 Two North LaSalle Street, Suite 1700              301 Fayetteville Street
 Chicago, IL 60602                                 Raleigh, NC 27601

 Glenn Reisman, Esquire
 12 Old Hollow Road
 Suite B
 Trumbull, CT 06611


                                              /s/ Audrey May Aleskovsky
                                            Audrey May Aleskovsky, Trial Attorney




                                               3
